                       In The Matter Of:
                    Bakalar v. Dunleavy, et al.
                   Case No. 3:19-cv-00025 JWS




                               Joanne Grace
                               April 29, 2021




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 1     Q. Okay. And would you describe her as           1        Q.    Did you ever -- strike that.
 2   somebody who was a personal friend?                2                  What were your -- what were the
 3     A. I would describe her as somebody who          3      things you liked about her as an individual, as a
 4   was a professional friend.                         4      friend?
 5     Q. Okay. And what do you mean by a               5        A. She's a warm person. She's a loyal
 6   "professional friend"?                             6      person. She's funny. She's fun, considerate.
 7     A. I mean, she was a friend. I didn't --         7      Probably some other things, too, that's not -- that
 8   I mean, first of all, she lived in Juneau, so, you 8      aren't coming to mind.
 9   know, we didn't do things outside of work except 9          Q. Okay. Were you ever aware of
10   maybe get a drink after if she happened to be in 10       Ms. Bakalar's personal political beliefs
11   Anchorage, or maybe if I was -- maybe one time in 11      interfering or affecting her ability to represent
12   Juneau I might have got a drink with her. But, you 12     the State of Alaska? And by that I mean causing a
13   know, we don't -- we don't live in the same town. 13      bias or a lack of advocacy or a reduction in her
14   We don't -- we didn't do things together like        14   advocacy on the part of the state because of her
15   personal friends might do.                           15   personal political beliefs.
16     Q. Would you agree that attorneys can have         16     A. So, yes, aware of her -- not her
17   political opinions that -- attorneys in the          17   political beliefs but her political speech and her
18   Department of Law can have political opinions and    18   political actions becoming more and more
19   still -- strong political opinions and still be      19   problematic to her ability to do her job.
20   able to effectively represent the Department of      20     Q. And I'm going to get to that frame that
21   Law?                                                 21   you guys have adopted here, but I want to talk
22     A. Represent the Department of Law?                22   about -- because it's a frame. But I want to talk
23     Q. Uh-huh, in working -- in performing             23   about whether or not in her work you ever saw that
24   their job duties.                                    24   her work performance, meaning the product that she
25     A. Well, that depends on their job duties.         25   produced, was affected negatively in any fashion by

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 1   I mean, I do agree that people can have whatever      1   her political beliefs.
 2   beliefs they want and adequately perform their        2              MR. JAMIESON: And when you say
 3   duties. It's not so much a representation of the      3   "work product," what are you including in "work
 4   Department of Law; it's more a representation of      4   product"?
 5   the state and our clients. But having beliefs is      5     Q. I'm talking about -- I'm talking about
 6   absolutely compatible with doing the work of an       6   the decisions that she wrote, the AGOs that she
 7   assistant attorney general.                           7   authored. Let's start there. Are you aware of
 8     Q. Now, your -- strike that.                        8   whether she ever authored an Attorney General's
 9              In your work with Ms. Bakalar as a         9   Opinion that you believe was affected or biased
10   professional and as her professional friend, what    10   because of her personal political beliefs?
11   were the things that you liked about her as an       11     A. I'm not aware of that, no.
12   attorney?                                            12     Q. Okay. Are you aware of her ever making
13     A. What were the things I liked about her          13   an argument in court on behalf of the state,
14   as an attorney?                                      14   whether it was in trial courts, the Alaska Supreme
15     Q. Right, yeah, as an attorney.                    15   Court, or the U.S. Supreme Court, in which her
16     A. But not as a -- do you want me to               16   personal political beliefs negatively created a
17   distinguish that from the things I liked about her   17   bias or a harm to the state?
18   personally?                                          18     A. Well, I am not aware because I wouldn't
19     Q. Yes.                                            19   know, but I will say that because she was
20     A. She was a great colleague. She was              20   representing the Division of Elections, and it's a
21   very helpful. She had a great attitude about         21   foundational principle of the Division of Elections
22   helping other people. She was a good team player.    22   that the administration of elections be
23   She was very responsive if you needed her -- an      23   nonpartisan, have credibility, integrity, and be
24   answer to something. She was kind, like friendly,    24   impartial, that the more outspoken the elections
25   just kind of fun to work with.                       25   attorney is, the more partisan and the more extreme


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 1   agenda. Don't reapply or don't plan to work for        1   state's business?" That's how I would interpret
 2   the state unless you agree to support it"?             2   it.
 3              MR. JAMIESON: The question is:              3      Q. In the 30 years that you've worked for
 4   Did you see that?                                      4   the Department of Law, had you ever seen a request
 5     A. Did I see that?                                   5   of basically this entire state workforce to resign
 6              MR. JAMIESON: In writing.                   6   and reapply?
 7     A. No. No, but I don't think that                    7      A. No.
 8   Dunleavy's policies or plans were a secret. We had     8      Q. I'm talking about 1,200 people.
 9   just gone through an election.                         9      A. No.
10     Q. So what were the policies and plans              10      Q. This was unusual; right?
11   that you understood at that time the 1,200 state      11      A. Unprecedented.
12   workers were being asked to support in retaining or   12      Q. Unprecedented. How did it affect the
13   seeking to be rehired for their jobs?                 13   morale of your -- the people that you were in
14              MR. JAMIESON: Let me object to             14   charge of to be told that they were required to
15   the form of that question. It assumes facts that      15   resign and reapply for their jobs?
16   are definitely not in evidence.                       16      A. Negatively.
17     Q. You said the Dunleavy administration             17      Q. I'm going to show you what we'll mark
18   was going to be making changes, and that the reason   18   as Exhibit 26.
19   they were asking for 1,200 people to resign and       19              (Exhibit 26 duly marked.)
20   reapply was to make sure they were on board with      20   BY MR. CHOATE:
21   the changes.                                          21      Q. Can you see this? This is an article
22              My question is: What was your              22   by Jeff Landfield dated November 18, 2018, called
23   understanding of the changes that the Dunleavy        23   "Playing Politics with Prosecutors."
24   administration was making?                            24      A. Uh-huh.
25              MR. JAMIESON: I think that you've          25      Q. Do you recall ever seeing this?

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 1   misstated her prior testimony, but she can answer    1       A. No.
 2   the question to the extent she understands it.       2       Q. And what he says in the first paragraph
 3     A. Every new administration comes in with          3     is: "It is customary for a new governor to ask for
 4   new ideas and new agendas. And career state          4     resignations of political appointees. These
 5   employees understand that those people have been     5     include commissioners, deputy commissioners,
 6   elected, that the electorate wishes them to do the   6     directors, deputy directors, and the governor's
 7   things they promised to do, and that accomplishing   7     staff. However, it's unprecedented to ask for the
 8   those things requires the work of many people, more  8     resignation of all EX" -- that would be exempt --
 9   or less everyone in the executive branch, and        9     "and PX" -- partially exempt -- "employees. These
10   that's how I understood it.                         10     include prosecutors, IT staff, secretaries,
11      Q. Did you have any specific understanding       11     assistants and more. To give some context, when
12   as to what were the changes that the new            12     Governor Walker was elected, he asked for the
13   administration was going to implement that required 13     resignations of about 250 people. According to
14   1,200 people to basically quit their jobs, resign,  14     state data, there were 1,454 partially exempt and
15   and then reapply because they were going to be on 15       exempt positions, nearly 10 percent of the state
16   board with these changes?                           16     workforce."
17               MR. JAMIESON: Same objection to         17                 Would you agree it was
18   the form of that question.                          18     unprecedented?
19               Are you able to answer it?              19       A. I think I already said that.
20               THE WITNESS: Yeah.                      20       Q. Okay. And then they quote Mr. Babcock
21      A. I mean, I don't -- I don't think that         21     below -- or Mr. Landfield quotes him as saying,
22   it was -- I think that -- I think that your         22     "Dunleavy just wants all of the state employees who
23   statement is overthinking the request. It was just 23      are at-will -- partially exempt, exempt
24   more of a general like, "Hey, new governor. Are 24         employees -- to affirmatively say yes. 'Yes, I
25   you on board with continuing to, you know, do the 25       want to work for the Dunleavy administration.' Not


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 1   11:31 AM                                               1   who this letter is addressed to?
 2              THE REPORTER: We're back on                 2     A. He was the deputy attorney general --
 3   record.                                                3     Q. Okay.
 4               (Exhibit 29 duly marked.)                  4     A. -- at the time.
 5   BY MR. CHOATE:                                         5     Q. And do you know or did you ever learn
 6     Q. Ms. Grace, I've shown to you what is              6   what precipitated the investigation into
 7   marked as Exhibit 29. This is a March 16, 2017,        7   Ms. Bakalar?
 8   letter to James Cantor from William Evans. Have        8     A. Yes. She -- in one of her e-mails that
 9   you seen this before?                                  9   she sent about the investigation, she identified
10     A. Yes.                                             10   the source of the investigation as a citizen, which
11     Q. Okay. And were you aware of the                  11   I believe was Nancy Stroup because she had sent me
12   letter -- were you aware of the request made to       12   that complaint, or somebody had sent me that
13   investigate Ms. Bakalar's social media presence in    13   complaint, and a couple of legislators who I know
14   2017?                                                 14   to be -- I know who they are.
15     A. Yes.                                             15     Q. Okay. And Ms. Stroup -- are you aware
16     Q. Okay. How did you become aware of it?            16   that Ms. Stroup had targeted Ms. Bakalar in her
17     A. From Libby and possibly from an e-mail           17   blog, saying that Ms. Bakalar should not be working
18   she sent. Also she told me.                           18   for the State of Alaska because of her political
19     Q. Okay. So you learned it from Libby, as           19   beliefs?
20   opposed to somebody in the administration or higher   20               MR. JAMIESON: I'll object to the
21   up in the Attorney General's office?                  21   form. You're characterizing what Ms. Stroup was
22     A. I learned it from Libby for sure. I              22   saying, and you are probably inappropriately or
23   don't know if I was also on -- no, I think -- I       23   incorrectly characterizing it.
24   think the first time I knew about it was from         24               But you can answer the question.
25   Libby.                                                25     A. So I saw the complaint that she wrote.

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 1     Q. After Libby told you about this, did            1       Q.   Uh-huh.
 2   you talk to anybody else in the department about     2       A.   And I saw that in that complaint she
 3   the investigation?                                   3     had, I would say, two major concerns. One was that
 4     A. I would say it was a general topic,             4     it seemed that Libby was using state time and
 5   particularly because Libby was very, very upset      5     resources to post social media things or blogs, and
 6   about it and brought it up a lot and wanted to talk  6     the second was that Libby had declared that she
 7   to people about it a lot.                            7     didn't want to have anything to do with anyone who
 8     Q. What was -- what did Libby tell you she         8     voted for Donald Trump, and that Ms. Stroup didn't
 9   was upset about?                                     9     see how Libby could represent the interests of the
10     A. Well, I think there's an e-mail that --        10     citizens of Alaska, the majority of whom had voted
11   she either copied me or sent me the e-mails that    11     for Donald Trump. And she expressed concern that
12   she wrote when -- after she was told that the       12     the top election attorney for the state could
13   investigation was being done. And she also copied   13     perform her job in a fair and impartial way when
14   me on e-mails about one of the complainants, Nancy 14      she was posting these kinds of things.
15   Stroup, and copied me on her responses to the       15       Q. And Ms. Stroup is a Republican; is that
16   Attorney General and the deputy attorney general 16        right?
17   and the director and her supervisor, and so all of 17        A. I have no idea.
18   her expressions in those things I was aware of.     18       Q. You're not familiar with her writings
19     Q. As I understand it, then, you were --          19     about politics and her views on government and
20   because Libby copied you or Libby talked to you, 20        elections?
21   you were aware of this investigation, but you       21       A. I'm only aware of the things that Libby
22   weren't -- you were not part of the decision-making 22     said about her in the e-mails that she sent.
23   process to begin an investigation; is that correct? 23       Q. Did you at some point receive a copy --
24     A. Correct. Correct.                              24     sometime in March, let's say, of 2017, did you
25     Q. And in your -- and who is Mr. Cantor,          25     receive a copy of Mr. Evans' letter that's marked

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 1   here as Exhibit 29?                                    1     A. Right.
 2     A. I did.                                            2     Q. -- who I'll represent to you was the
 3     Q. Okay. And did you understand that                 3   attorney for the Senate majority, so for the
 4   Mr. Evans had -- his conclusions were that her blog    4   Republican majority, and he sent this letter to
 5   took place predominantly on her own time and would     5   Cori Mills. And do you know who Cori Mills is?
 6   appear to be a protected activity?                     6     A. I do.
 7     A. Yes. I'm aware of the two complaints              7     Q. Who is he -- or she? She.
 8   that Ms. Stroup made. The investigation only           8     A. It's a she.
 9   related to one of them.                                9     Q. That's right. I keep -- you told me
10     Q. I'm going to show you now what we'll             10   that earlier.
11   mark as No. 30.                                       11     A. Right. She's now the deputy attorney
12              (Exhibit 30 duly marked.)                  12   general. At the time she was our legislative
13   BY MR. CHOATE:                                        13   liaison and our press person.
14     Q. And this is an e-mail chain that                 14     Q. Okay. And then looking at the first
15   involves -- you're cc'd on it, and I think we can     15   page --
16   go to the beginning of it, which is on the second     16               MR. JAMIESON: You mean page 1, or
17   page, page 2 of Exhibit 30. And this is an e-mail     17   do you mean --
18   from Chad Hutchison, who was the attorney for the     18               MR. CHOATE: Page 1. Page 1 of
19   Senate majority. So he's an attorney for that         19   Exhibit 30.
20   Republican -- it was a Republican majority here in    20               MR. JAMIESON: Okay.
21   Juneau for the Senate, and he complained about        21     A. Okay. Got it.
22   Ms. Bakalar's speech in her blog, "One Hot Mess."     22   BY MR. CHOATE:
23   Do you see that?                                      23     Q. On October 8th Cori Mills wrote, "Just
24     A. I'm not sure how to get to the second            24   so you all have it, here is the revised draft of
25   page.                                                 25   the social media policy. This policy is focused

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 1              MR. JAMIESON: Oh, you have to               1   more on state use of social media, not personal
 2   press the down button, arrow.                          2   use. When it comes to personal use of social
 3              THE WITNESS: Oh, right here?                3   media, it is fraught with pitfalls, and putting a
 4              MR. JAMIESON: Oh, yeah. You can             4   firm policy in writing telling employees what they
 5   do that.                                               5   can do on their personal time has a tendency to be
 6              THE WITNESS: Okay.                          6   viewed by the courts as overbroad and as an
 7              MR. JAMIESON: No, I guess you               7   infringement on First Amendment rights. This
 8   can't. You have to get -- oh, boy. This guy here.      8   doesn't mean you can't discipline attorneys, but
 9              THE WITNESS: Oh, got you. Okay.             9   you have to show a strong nexus to their work.
10     A. (Reading.) Sorry. Am I on page 2 now?            10               "These issues seem to be coming up
11              MR. JAMIESON: So, Mark, it's a             11   in a number of departments. DPS is also working on
12   good thing I'm in the same room.                      12   a policy for personal use of social media."
13     A. Oh, it is, because he's like a                   13               And she finishes, "In the end,
14   technical wiz compared to me. All right. So           14   this is a really a question of off-duty conduct and
15   I'm --                                                15   how and when it can be related to your employment.
16     Q. It's so cool to consider Brewster --             16   This is really a Division of Personnel question.
17     A. It's a low bar.                                  17   I'm wondering if there should be guidance from the
18     Q. -- a technical wiz. I just -- that's             18   Division of Personnel and Law to all departments on
19   really neat.                                          19   this."
20     A. What did I just do? I just went back             20               Do you recall receiving this?
21   to the other one. All right. I'm sorry. Hold on.      21     A. Yes.
22   Give me a second. Okay. Now I'm on the second         22     Q. Do you recall seeing a revised draft of
23   page.                                                 23   social media policy at this time period?
24     Q. And you see at the bottom there is an            24     A. So this was the -- I think she was
25   e-mail from Chad Hutchison --                         25   referring to the State of Alaska policy, not the

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 1   Department of Law policy, and it looks like it was     1     Q. Okay. So Janell says, "Jahna, I agree
 2   maybe attached to the e-mail. I can't --               2   we want to know the parameters surrounding this
 3     Q. I just haven't seen this. Do you                  3   issue, though I think the concerns you've flagged
 4   recall seeing a social media policy, a draft of        4   will likely require more legal analysis from us at
 5   social media policy?                                   5   Law re what can theoretically happen and what the
 6     A. It looks like it was attached to this             6   recourse might be, rather than anything from DOP,
 7   e-mail --                                              7   which would probably kick this type of inquiry back
 8     Q. Okay.                                             8   to us anyhow. If that's okay, I'll reach out to Ed
 9     A. -- but it was not -- as she said, it              9   and Joanne and share my thoughts on this in person
10   was more a policy about state -- the state using      10   and figure out the best way to get what you're
11   social media, in other words, the Department of       11   looking for."
12   Public Safety having a Facebook account or the        12               So did Janell Hafner reach out to
13   governor's office having a Facebook account and,      13   you and Mr. Sniffen regarding developing or
14   you know, the things they can and can't do related    14   articulating a policy as to whether or not
15   to that. This really wasn't about individuals' use    15   employees could be fired for political speech
16   of social media. I think that's what she's saying.    16   outside work that is contrary to the politics of
17   And I do think -- I don't know, but I think           17   the administration?
18   probably, if you go to the Department of              18     A. I don't remember. I just don't
19   Administration, you'll maybe find a social media --   19   remember.
20   a statewide social media policy.                      20     Q. Okay. Do you recall ever -- there ever
21     Q. Okay.                                            21   being a document, a writing in which you saw -- you
22     A. Or maybe it's not public. I don't                22   participated in or saw that said, "Department of
23   know.                                                 23   Law employees can be fired for political speech
24     Q. Then right above this e-mail on page 1           24   outside of work that is contrary to the politics of
25   of Exhibit 30, there is an e-mail from Jahna          25   the administration"?

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 1   Lindemuth again to Cori Mills, and you're cc'd         1     A. So I think there was a group of us who
 2   along with Mr. Sniffen and Ms. Hafner. And it          2   tried to develop a policy, but it wasn't about --
 3   says, "Re: More Bakalar Issues - For AG. Thanks.       3   it wasn't about whether someone could be fired for
 4   Let's ask DOP" -- that would be the Division of        4   political speech that was contrary to the politics
 5   Personnel -- "whether an employee can be fired for     5   of the administration. I think the way Jahna
 6   political speech outside work that is contrary to      6   framed that was not actually the question that we
 7   politics of administration. Libby may become the       7   were looking for. It was whether we could develop
 8   example, so good to know answer sooner than later.     8   a policy about outside political speech that
 9   If so, this info should go to employees so they can    9   related to what was acceptable and not acceptable,
10   make informed decisions. Or if they can't, it         10   given the functions of your job.
11   might be good to get policy or FAQs out before        11               And we weren't successful in doing
12   election."                                            12   that because it's so fact-specific that it turned
13                Do you recall receiving this?            13   out to be -- it would turn out to be a legal memo
14     A. Yes.                                             14   of all the things you would consider to determine
15     Q. And do you know, why is it that --               15   whether outside political speech or -- it wasn't
16   strike that.                                          16   just political speech -- outside speech, social
17                Do you know whether or not the           17   media activities, I guess, were acceptable or not.
18   Division of Personnel was ever asked to provide an    18   It was just not a meaningful policy. It was more
19   opinion as to whether employees could be fired for    19   like, "Here's the particular five-part weighing
20   political speech outside of work that is contrary     20   task," kind of -- something more like that. And it
21   to the politics of the administration?                21   really depended on the job.
22     A. I don't think that we ever did because           22               So, for example, the criminal
23   I think Janell's response above is a legal            23   division wanted -- you know, might have more
24   question, and the Division of Personnel is just       24   restrictive limitations than the civil division
25   going to ask us.                                      25   would because they have had people who put things


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 1   that are racist or, you know, problematic on social    1   concerned that she was going to be disciplined by
 2   media that impacts their ability to prosecute, to,     2   this administration. It wasn't just -- it didn't
 3   you know, appropriately do the job of a prosecutor.    3   really have to do with the Dunleavy administration;
 4               In the civil division, it just             4   it had to do with her kind of self-destructive
 5   depends so much on each job that it just became        5   actions that seemed to be getting more -- to be
 6   this sort of factual application of the facts to       6   more and more and more important to her.
 7   law, and that's not a meaningful policy. It would      7      Q. So can you point out -- I mean, we've
 8   just turn out to be like "Consider what your job is    8   got -- we've asked for lots of discovery from the
 9   and the impact of what you're doing on your job and    9   state in this case, but can you point out any
10   your clients and use good judgment." And so I         10   writing in which you wrote to Libby Bakalar and put
11   don't think we ever ended up with anything.           11   on sort of the record, "Libby, I have concerns" or
12      Q. Did you ever produce anything in                12   "we have concerns regarding your personal political
13   writing that would be advisory to Department of Law   13   speech and what you're saying in your blog, and we
14   employees as to how they should -- what they should   14   want to admonish you or warn you that you might
15   consider in using social media in their personal      15   lose your job or might face dismissal because of
16   life?                                                 16   your speech"?
17      A. No.                                             17      A. No, because -- for several reasons.
18      Q. Were any of the communications by this          18   One is this was very important to Libby. She was
19   group that you've described -- were any of those,     19   very -- she repeatedly said, "I don't care what
20   where you discussed this back and forth -- did any    20   they do to me, I'm never going to stop." Number
21   of that go into writing where there were e-mails or   21   two, she's an attorney herself who claims to be an
22   a draft -- efforts to create drafts of a policy or    22   expert in the First Amendment. Three, she had her
23   a process, you know, an advisory? Let's call it an    23   own attorney, Mr. Sheehan, representing her in
24   advisory.                                             24   these matters. And, four, we were not -- we didn't
25      A. I think there might have been, and it           25   want her to get in trouble.

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 1   might have been the criminal division that was       1                We were hoping that it wouldn't
 2   really primarily working on that. We were trying     2     happen, and these complaints and the concerns about
 3   to do one that could be department-wide, but I       3     her behavior were being handled at the highest
 4   don't know if we -- I just don't recall if we ever   4     level, by the Attorney General. So, no, nobody was
 5   got anything in there that was -- that went beyond   5     going to step in between -- you know, get out in
 6   the criminal division.                               6     front of the Attorney General and say, "Libby, stop
 7     Q. Did you believe or -- strike that.              7     doing this."
 8              Was there a belief among                  8       Q. Well, I mean, I have to say I'm trying
 9   yourselves -- you, Jahna Lindemuth, and Janell       9     to look for where her friends were, her
10   Hafner -- that Libby Bakalar might be fired or      10     professional friends and lawyers were in giving --
11   discharged for her speech by the Dunleavy           11     putting in writing in any place, you know, "Libby,
12   administration if he was elected?                   12     you are facing a risk of adverse job consequences.
13     A. There was general concern that Libby's         13     You could get fired because of your outspoken
14   actions were negatively impacting her ability to do 14     political speech mainly about Donald Trump." Was
15   the job, were becoming more and more concerning for 15     that in writing to anybody? Did you ever see that
16    the legislature, for the administration, for the   16     in writing to her?
17   department, for the Division of Elections, for the 17        A. I wouldn't write that to somebody,
18    public; and that as the complaints came in, she, 18       number one. Number two, Libby understood that.
19    instead of taking them to heart, became more       19     Every time there was a complaint, she would say, "I
20   adamant and more defiant and seemed to accelerate 20       don't care what they do to me. I'm not going to
21    rather than -- rather than pull back.              21     stop." She would become more determined to do
22               And so I think that there was           22     this, not less determined.
23   alarm. We were alarmed by what she was doing. We 23                    And so, you know, I would say that
24   were concerned by what she was doing. And, I mean, 24      we all believed that she understood that her
25    when this investigation was going on, we were      25     behavior was becoming more and more reckless, and


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